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                                                                                      E-FILED
                                                       Monday, 22 December, 2014 03:24:28 PM
                                                                  Clerk, U.S. District Court, ILCD
                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS
                               PEORIA DIVISION

MATTHEW McGINLEY,

                    Plaintiff,

   vs.                                                    Case No. 13-cv-1586

LIVINGSTON COUNTY, ILLINOIS,
a municipal corporation, SHERIFF
ALVIN G. LINDSEY, in his official
capacity as Sheriff of Livingston County,
Illinois; OFFICER SHAWNEE L.
BRAUMAN, OFFICER BRANDI
VANCE, OFFICER JASON L.
LAWRENCE, OFFICER MICHAEL L.
ATKINSON, SERGEANT SCOTT T.
HARMON, SHERIFF MARTIN
MEREDITH, JAIL SUPERINTENDENT
BILL COX, ASSISTANT JAIL
SUPERINTENDENT STUART INMAN,
JAMES PULLIAM, R.N., KAREN
BUTLER, M.D., GREGORY L.
RAKESTRAW, D.O., and ADVANCED
CORRECTIONAL HEALTHCARE,
INC.,

                    Defendants.

  ANSWER TO COUNTS IV and V OF SECOND AMENDED COMPLAINT
          AND AFFIRMATIVE DEFENSES TO COUNT IV

   NOW COMES Defendant, JAMES PULLIAM, R.N, by his attorneys, QUINN,

JOHNSTON, HENDERSON, PRETORIUS & CERULO, and for his Answers to Counts IV

and V of Plaintiff’s Second Amended Complaint and Affirmative Defenses to Count IV,

states:
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                             NATURE OF COMPLAINT

   1. On information and belief, Defendant admits the allegations of paragraph 1.

                                     JURISDICTION

   2. Defendant admits the allegations of paragraph 2.

                                         PARTIES

   3. On information and belief, Defendant admits the allegations of paragraph 3.

   4. Defendant admits the allegations of paragraph 4.

   5. Defendant admits the allegations of paragraph 5.

   6. Defendant admits the allegations of paragraph 6.

   7. Defendant admits that Officers Brauman, Vance, Lawrence, and Atkinson were

employed as correctional officers at the Livingston County Jail. Defendant is without

knowledge or information sufficient to form a belief as to the remaining allegations of

paragraph 7.

   8. Defendant admits that Sergeant Harmon was employed by the Sheriff’s

Department and working at the Livingston County Jail. Defendant is without knowledge

or information sufficient to form a belief as to the remaining allegations of paragraph 8.

   9. Defendant admits the allegations of paragraph 9.

   10. Defendant admits the allegations of paragraph 10.

   11. Defendant admits the allegations of paragraph 11.

   12. Defendant admits the allegations of paragraph 12.

   13. Defendant admits the allegations of paragraph 13.


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   14. Defendant denies the allegations of paragraph 14.




                                        FACTS

   15. Defendant is without knowledge or information sufficient to form a belief as to the

allegations of paragraph 15 and therefore denies the same.

   16. Defendant is without knowledge or information sufficient to form a belief as to the

allegations of paragraph 16 and therefore denies the same.

   17. Defendant is without knowledge or information sufficient to form a belief as to the

allegations of paragraph 17 and therefore denies the same.

   18. Defendant is without knowledge or information sufficient to form a belief as to the

allegations of paragraph 18 and therefore denies the same.

   19. Defendant is without knowledge or information sufficient to form a belief as to the

allegations of paragraph 19 and therefore denies the same.

   20. Defendant is without knowledge or information sufficient to form a belief as to the

allegations of paragraph 20 and therefore denies the same.

   21. Defendant is without knowledge or information sufficient to form a belief as to the

allegations of paragraph 21 and therefore denies the same.

   22. Defendant is without knowledge or information sufficient to form a belief as to the

allegations of paragraph 22 and therefore denies the same.




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   23. Defendant admits that a sick call request dated December 19, 2012 was completed

and includes the statement quoted, but Defendant denies that the statement is true and

denies the remaining allegations of paragraph 23.

   24. Defendant admits that Plaintiff was seen by Nurse Pulliam, but Defendant denies

the remaining allegations of paragraph 24.

   25. Defendant denies the allegations of paragraph 25.

   26. Defendant admits that a sick call request dated December 26, 2012 was completed

and includes the statement quoted, but Defendant denies that the statement is true and

denies the remaining allegations of paragraph 26.

   27. Defendant admits the allegations of paragraph 27.

   28. Defendant admits that blood tests were ordered by Dr. Butler, but denies the

remaining allegations of paragraph 28.

   29. Defendant admits that there was a “grievance” which includes, in part, the

statement quoted, but Defendant denies that the statements in the grievance are true

and denies the remaining allegations of paragraph 29.

   30. Assuming that this paragraph was intended to refer to the grievance described in

Paragraph 29, Defendant is without knowledge or information sufficient to form a belief

as to the allegations of paragraph 30 and therefore denies the same.

   31. Defendant admits the allegations of paragraph 31.

   32. Defendant denies the allegations of paragraph 32.




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   33. Defendant denies the allegations of paragraph 33.

   34. Defendant denies the allegations of paragraph 34.

   35. Defendant denies that it was six weeks, but admits the remaining allegations of

paragraph 35.

   36. Defendant denies the allegations of paragraph 36.

   37. Defendant admits the allegations of paragraph 37.

   38. Defendant denies the allegations of paragraph 38.

   39. Defendant denies the allegations of paragraph 39.

   40. Defendant is without knowledge or information sufficient to form a belief as to

the allegations of paragraph 40 and therefore denies the same.

   41. Defendant is without knowledge or information sufficient to form a belief as to

the allegations of paragraph 41 and therefore denies the same.

   42. Defendant admits that, on January 15, 2013, an appointment was scheduled for

Plaintiff to see a neurologist, Dr. David, on February 26, 2013. Defendant denies the

remaining allegations of paragraph 42.

   43. Defendant is without knowledge or information sufficient to form a belief as to

the allegations of paragraph 43 and therefore denies the same.

   44. Defendant is without knowledge or information sufficient to form a belief as to

the allegations of paragraph 44 and therefore denies the same.




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   45. Defendant is without knowledge or information sufficient to form a belief as to

the allegations of paragraph 45 and therefore denies the same.

   46. Defendant is without knowledge or information sufficient to form a belief as to

the allegations of paragraph 46 and therefore denies the same.

   47. Defendant is without knowledge or information sufficient to form a belief as to

the allegations of paragraph 47 and therefore denies the same.

                                       COUNT I

   As this count is not directed towards Defendant, James Pulliam, R.N., Defendant

neither admits nor denies the allegations of paragraphs 48 through 61 of Count I.

                                      COUNT II

   As this count is not directed towards Defendant, James Pulliam, R.N., Defendant

neither admits nor denies the allegations of paragraph 48 of Count II.

                                     COUNT III

   As this count is not directed towards Defendant, James Pulliam, R.N., Defendant

neither admits nor denies the allegations of paragraphs 48 through 62 of Count III.

                                      COUNT IV

   1.-47. Defendant incorporates his answers to paragraphs 1 through 47 as if set forth

fully herein.

   48.    Defendant admits that he was a nurse working at the Livingston County Jail,

but Defendant denies the remaining allegations of paragraph 48.

   49.    Defendant denies the allegations of paragraph 49.


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   50.    Defendant admits that a sick call request was completed dated December 26,

2012 and that Plaintiff was moved from a second floor unit to a ground floor unit.

Defendant denies the remaining allegations of paragraph 50.

   51.    Defendant denies the allegations of paragraph 51.

   52.    Defendant denies the allegations of paragraph 52.

   53.    Defendant denies the allegations of paragraph 53.

   54.    Defendant denies the allegations of paragraph 54.

   55.    Defendant denies the allegations of paragraph 55.

   WHEREFORE, Defendant, JAMES PULLIAM, R.N., prays that this Court enter

judgment in bar of Count IV of Plaintiff’s Second Amended Complaint, that Defendant

have his attorneys’ fees and costs at Plaintiff’s expense, and for such other and further

relief as the Court deems just.

   DEFENDANT DEMANDS TRIAL BY JURY.

                                       COUNT V

   1.-47. Defendant incorporates his answers to paragraphs 1 through 47 as if set forth

fully herein.

   48.    Defendant admits the allegations of paragraph 48.

   49.    Defendant admits that Plaintiff was a pretrial detainee at the Livingston

County Jail, but denies the remaining allegations of paragraph 49.




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   50.    Defendant admits that Plaintiff was a patient of Nurse Pulliam while at the

Livingston County Jail, but denies the remaining allegations of paragraph 50.

   51.    Defendant admits the allegations of paragraph 51.

   52.    Defendant denies the allegations of paragraph 52 and specifically denies each

and every allegation of subparagraphs (a) through (h).

   53.    Defendant denies the allegations of paragraph 53.

   54.    Defendant denies the allegations of paragraph 54.

   WHEREFORE, Defendant, JAMES PULLIAM, R.N., prays that this Court enter

judgment in bar of Count V of Plaintiff’s Complaint, that Defendant have his attorneys’

fees and costs at Plaintiff’s expense, and for such other and further relief as the Court

deems just.

   DEFENDANT DEMANDS TRIAL BY JURY.

                                       COUNT VI

   As this count is not directed towards Defendant, James Pulliam, R.N., Defendant

neither admits nor denies the allegations of paragraphs 55 through 61 of Count VI.

                                       COUNT VII

   As this count is not directed towards Defendant, James Pulliam, R.N., Defendant

neither admits nor denies the allegations of paragraphs 48 through 55 of Count VII.




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                             AFFIRMATIVE DEFENSES

               First Affirmative Defense – Qualified Immunity

   1. At the time and place alleged in Plaintiff’s Second Amended Complaint, the law

was not clearly established such that Defendant Pulliam would have known that his

actions were unlawful in violation of Plaintiff’s constitutional rights. Defendant is

therefore entitled to qualified immunity for the allegations in Count IV of Plaintiff’s

Second Amended Complaint.

   2. This affirmative defense is asserted in the alternative to the denials set forth

above.

   WHEREFORE, Defendant, JAMES PULLIAM, R.N., prays that this Court enter

judgment in bar of Counts IV of Plaintiff’s Second Amended Complaint, that Defendant

have his attorneys’ fees and costs at Plaintiff’s expense, and for such other and further

relief as the Court deems just.

   DEFENDANT DEMANDS TRIAL BY JURY.

             Second Affirmative Defense – Good Faith Immunity

   1. In the alternative to the denials and affirmative defense set forth above, Defendant

Pulliam is entitled to immunity, as his actions were at all times made in good faith. See,

Richardson v. McKnight, 521 U.S. 399, 413-414 (1997) (discussing whether the court might

recognize a good faith defense for private actors if they were not entitled to qualified

immunity).




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   WHEREFORE, Defendant, JAMES PULLIAM, R.N., prays that this Court enter

judgment in bar of Counts IV of Plaintiff’s Second Amended Complaint, that Defendant

have his attorneys’ fees and costs at Plaintiff’s expense, and for such other and further

relief as the Court deems just.

   DEFENDANT DEMANDS TRIAL BY JURY.

   WHEREFORE, Defendant, JAMES PULLIAM, R.N., prays that this Court enter

judgment in bar of Counts IV and V of Plaintiff’s Second Amended Complaint, that

Defendant have his attorneys’ fees and costs at Plaintiff’s expense, and for such other and

further relief as the Court deems just.

   DEFENDANT DEMANDS TRIAL BY JURY.


                            JAMES PULLIAM, R.N., Defendant


                            By:                   s/Peter R. Jennetten
                                                   Peter R. Jennetten
                            QUINN, JOHNSTON, HENDERSON, PRETORIUS & CERULO



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                            CERTIFICATE OF SERVICE

I hereby certify that on December 22, 2014, I electronically filed this ANSWER TO
COUNTS IV and V of PLAINTIFF’S SECOND AMENDED COMPLAINT AND
AFFIRMATIVE DEFENSES TO COUNT IV with the Clerk of Court using the
CM/ECF system, which will send notification of such filing to the following:

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